          Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 1 of 25




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
ERICA LINDSAY LEE,                                              Case No.: 1:21-cv-07934-LGS

                                   Plaintiff,

                 v.

ANDREW YANG and FRIENDS OF ANDREW
YANG,

                                    Defendants.
------------------------------------------------------------X




    PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
         MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT




                                            White & Hilferty
                                         Samantha E. Hudler, Esq.
                                         Michael P. Hilferty, Esq.
                                           Attorneys for Plaintiff
                                       757 Third Avenue, 20th Floor
                                       New York, New York 10017
            Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 2 of 25




                                                 TABLE OF CONTENTS

PRELIMINARY STATEMENT ................................................................................................ 1

STATEMENT OF RELEVANT FACTS................................................................................... 2

LEGAL ARGUMENT ................................................................................................................. 9

                     I.        Standard of Review .................................................................................. 9

                     II.       Plaintiff has Standing to Assert her Discrimination and
                               Retaliation Causes of Action Given that she was Considered an
                               Employee of Defendants Under the Applicable Statutes...................... 9

                               A. Plaintiff has Standing to Assert her Title VII Claims Given
                                  That She Was Employed by Defendants ........................................... 10

                               B. Plaintiff Has Standing to Assert NYSHRL and NYCHRL Claims
                                  Given That She Was Employed by Defendants ................................. 12

                     III.      Plaintiff Pled Plausible Claims Against Defendant Yang Under
                               NYSHRL and NYCHRL ....................................................................... 12

                               A. Title VII Claims against Defendant Yang ......................................... 12

                               B. Defendant Yang is Individually Liable under NYSHRL and
                                  NYCHRL ........................................................................................... 12

                     IV.       Plaintiff Pled Plausible Claims of Sex-Based Discrimination ............ 15

                     V.        Plaintiff Pled Plausible Claims of Retaliation ..................................... 16

                               A. Plaintiff Pled a Plausible Retaliatory Failure to Hire Claim .............. 18

                               B. Plaintiff Suffered Adverse Employment Action When Defendants
                                  Publicly Criticized and Doxed Her on Social Media ......................... 19

                     VI.       Plaintiff’s Defamation Claim ................................................................ 20

                     VII.      Leave to Replead .................................................................................... 20

CONCLUSION .......................................................................................................................... 20




                                                                    i
             Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 3 of 25




                                                TABLE OF AUTHORITIES

Case(s)                                                                                                                           Page(s)

Apotex Inc. v. Acorda Therapeutics, Inc.,
LLC, 823 F.3d 51 (2d Cir. 2016) ....................................................................................................9

Areu v. Fox News Network, LLC,
2021 WL 4124226 (S.D.N.Y. Sept. 9, 2021) ......................................................................10,11,12

Ashcroft v. Iqbal,
556 U.S. 662 (2009). ........................................................................................................................9

Bell Atlantic Corp v. Twombly,
550 U.S. 544 (2007) .........................................................................................................................9

Brown v. City of New York,
2013 WL 3789091 (S.D.N.Y. July 19, 2013) ......................................................................12,14,15

Brown v. Coach Stores, Inc.,
163 F.3d 706 (2d Cir. 1998)...........................................................................................................18

Brown v. Daikin Am. Inc.,
757 F.3d 219 (2d Cir. 2014)...........................................................................................................10

Cmty. for Creative Non-Violence v. Reid,
490 U.S. 730 (1989) ......................................................................................................................10

Daniels v. City of New York,
No. 17 CIV. 9960 (LGS), 2019 WL 251511 (S.D.N.Y. Jan. 17, 2019) .........................................9

de Souza v. Planned Parenthood Fed’n of Am., Inc.,
No. 21 CIV. 5553 (LGS), 2022 WL 2047580, at *1 (S.D.N.Y. June 7, 2022).........................17,18

Doe v. State of New York,
89 A.D.3d 787 (2011) ...............................................................................................................12,15

Duplan v. City of New York,
888 F.3d 612 (2d Cir. 2018).................................................................................................16,17,18

Feingold v. New York,
366 F.3d 138 (2d Cir. 2004)...........................................................................................................13

Gorman v. Covidien, LLC,
146 F. Supp. 3d 509 (S.D.N.Y. 2015).............................................................................12,13,14,15



                                                                     ii
            Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 4 of 25




Gulino v. New York State Educ. Dep’t,
460 F.3d 361 (2d Cir. 2006).............................................................................................................9

Harris v. Mills,
572 F.3d 66 (2d Cir. 2009) ...........................................................................................................11

Hughes v. Twenty-First Century Fox, Inc.,
304 F. Supp. 3d 429 (S.D.N.Y. 2018) .................................................................................10,11,19

Littlejohn v. City of New York,
195 F.3d 297 (2d Cir. 1997) ............................................................................................................9

Mahmud v. Kaufman,
496 F. supp. 2d 266 (S.D.N.Y. 2007) .............................................................................................9

Menaker v. Hofstra Univ.,
935 F.3d 20 (2d Cir. 2019) ............................................................................................................15

Musiello v. CBS Corp.,
518 F. Supp. 3d 782 (S.D.N.Y. 2021) .............................................................................................9

Nechis v. Oxford Health Plans, Inc.,
421 F.3d 96 (2d Cir. 2005).............................................................................................................20

Noni v. Cty of Chautauqua,
511 F. Supp. 2d 255 (W.D.N.Y. 2007) .........................................................................................19

O'Connor v. Davis,
126 F.3d 112 (2d Cir. 1997) ..........................................................................................................10

Shultz v. Congregation Shearith Israel,
867 F.3d 298 (2d Cir. 2017)...........................................................................................................17

Sowemimo v. D.A.O.R. Sec., Inc.,
43 F. Supp. 2d 477 (S.D.N.Y. 1999)..............................................................................................14

Tex. Dep't of Cmty. Affairs v. Burdine,
450 U.S. 248, 253 (1981) ...............................................................................................................18

Townsend v. Benjamin Enterprises, Inc.,
679 F.3d 41 (2d Cir. 2012) ............................................................................................................13

United States v. City of N.Y.,
359 F.3d 83 (2d Cir. 2004) ............................................................................................................10




                                                                   iii
             Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 5 of 25




Vega v. Hempstead Union Free Sch. Dist.,
801 F.3d 72 (2d Cir. 2015) .......................................................................................................16,17

Veprinsky v. Fluor Daniel, Inc.,
87 F.3d 881 (7th Cir. 1996) ...........................................................................................................19

Wang v. Phoenix Satellite Television US, Inc.,
976 F. Supp. 2d 527 (S.D.N.Y. 2013) ......................................................................................18,19

Zakrzewska v. New School,
14 N.Y.3d 469 (2010) ...................................................................................................................13

Statutes

42 U.S.C. § 2000 ........................................................................................................................... 10

Fed. R. Civ. P. 12(b)(6)...................................................................................................... 1,9,11,15

N.Y.C. Admin. Code § 8-107 .................................................................................................. 13,17

N.Y. Exec. Law § 296 .............................................................................................................. 12,13




                                                                      iv
          Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 6 of 25




                                      PRELIMINARY STATEMENT

         Plaintiff Erica Lindsay Lee (“Plaintiff”) respectfully submits this Memorandum of Law in

Opposition to Friends of Andrew Yang, Inc. (“Defendant FOAY”) and Andrew Yang’s

(“Defendant Yang”) (collectively “Defendants”) Motion to Dismiss Plaintiff’s Amended

Complaint (“Motion”) pursuant to Fed. R. Civ. P. 12(b)(6). Defendants assert in their Motion that

Plaintiff: (1) failed to sufficiently plead her employment discrimination and retaliation claims in

the Amended Complaint because she was purportedly a “volunteer” and not an employee of

Defendants; (2) improperly named Defendant Yang as an individual Defendant; and (3) asserted

time-barred defamation claims against Defendant. As outlined herein, Plaintiff sufficiently pled

employment discrimination and retaliation claims under the applicable statutes and properly

named Defendant Yang as an individual Defendant under NYSHRL and NYCHRL.

         Defendants’ Motion reveals the manner in which Defendants have attempted to

strategically manipulate the legal system by classifying employees as “volunteers” in an attempt

to avoid employer liability,1 as well as its blatant disregard and failure to address the ongoing

misogyny, gender discrimination, and retaliation permeating throughout its workplace. Notably,

at no time did Defendants advise Plaintiff that they could not address her discrimination and

retaliation complaints because she was "just a volunteer." Rather, for approximately three months,

Defendants led Plaintiff to believe that her complaints of discrimination, harassment, and

retaliation would be handled and involved Human Resources. Defendants also terminated


1
 Recently, three third-party entities have merged into a new self-proclaimed centrist party "Forward Party" offering
an alternative to the traditional two-party political system. The three parties consist of Renew America Movement,
which was created in 2021 by former Republican officials, the Forward Party created by Andrew Yang, and the Serve
America Movement, combined of Democrats, Republicans, and independents. Tellingly, the Forward Party is hiring
employees under the titles of "state lead" in advertised job postings to complete the duties of the employees formerly
known as “volunteers” during the time-period of Plaintiff’s employment. The Forward Party fails to differentiate
between state leads and volunteers. The Forward Party: 3 political groups merge to create new party, chaired by Yang,
Whitman (msn.com).
         Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 7 of 25




Plaintiff’s employment and denied Complainant employment opportunities in furtherance of their

discriminatory and retaliatory animus against her.

       As outlined herein, this Court must deny Defendants’ Motion to Dismiss Plaintiff’s

Amended Complaint.

                            STATEMENT OF RELEVANT FACTS

       On February 1, 2018, Defendant FOAY announced Defendant Andrew Yang’s presidential

campaign. (See Dkt No. 52, Am. Comp., at ¶ 12). Defendant Yang was the head of Defendant

FOAY. (Id., at ¶ 13). In May 2019, Plaintiff joined the Andrew Yang Basecamp Facebook group

(“Basecamp”) and responded to Defendant FOAY Basecamp Moderator Fred Ramey’s (“Ramey”)

gender-based discriminatory comments posted on the Facebook page. (Id., at ¶ 17). On May 3,

2019, Plaintiff attended the Andrew Yang for President rally at Seattle Gasworks Park and spoke

with Defendant FOAY’s National Campaign Finance Director Carly Reilly (“Reilly”) regarding

applying for a position of employment with FOAY. (Id., at ¶ 18).

       On or about May 4, 2019, Plaintiff applied for a field organization position with Defendants

by submitting a cover letter via Defendants’ website. (Id., at ¶ 21). In June 2019, Plaintiff engaged

in protected activity by opposing discriminatory comments about women in Defendants’

Basecamp. (Id., at ¶ 22). On June 5, 2019, Ramey messaged Plaintiff inquiring whether she

reported a comment in Basecamp. (Id., at ¶ 23). Plaintiff confirmed that she did report an offensive

Basecamp comment previously and noted that there was “an obvious difference when a woman

comments that the men pile on event when not related to them personally and men who say the

same are left alone.” (Id.) In response, Ramey stated, “That is not okay…regardless of viewpoints”

and “All politics is man heavy…[w]hat you are doing is counterproductive to your own

reasoning…[r]econsider.” (Id.). Subsequently, Plaintiff asked Ramey about the demographic of




                                                 2
         Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 8 of 25




the moderators for the Basecamp community because there was a significant amount of sexism

and misogyny displayed within the group. (Id.). Notably, Ramey was the subject of multiple

complaints submitted to Defendants due to his use of the words, “bitch” and “cunt,” as well as his

racist commentary. (Id.).

       On June 8, 2019, Ramey sent Plaintiff a direct message via Facebook stating, “Would you

care to help mod for basecamp…I presented your case to the group...[w]e need more people...”

(Id., at ¶ 24). Social Media Coordinator Kayle Jellesma (“Jellesma”) then emailed Plaintiff

onboarding information to become a Basecamp Moderator for Defendants, which Plaintiff

completed and submitted on June 9, 2019 (Id., at ¶¶ 24, 25). On June 25, 2019, Defendants

retaliated against Plaintiff by denying her the opportunity to be a Moderator for Basecamp. (Id., at

¶ 27). Specifically, Jellesma wrote to Plaintiff, in relevant part, “…some of the comments you’ve

made on the campaign management and at the moment we are afraid that you may not be a good

fit…[o]ur campaign is unorthodox, but that’s how we’ve gotten this far. I hope you understand our

position.” (Id.). Jellesma explained to Plaintiff that she was referring to “[t]he comments regarding

the campaign being composed of millennials and your discussion with Fred [Ramey] about the

female composition of the group...[w]e are working on expanding our reach to female voters, it

just so happens that the platforms where Andrew started gaining popularity were male dominated

platforms.” (Id.).

       On June 28, 2019, Plaintiff engaged in further protected activity by responding to

Jellesma’s message stating, in relevant part, “…I am very sorry for what I posted that made you

unsure of my ability to moderate... it was regarding frustration with what I felt was lack of

moderation of the sexism in the group and lack of women, period...” and “[t]he comments you

reference were posted before I was offered the opportunity to moderate though, before you sent




                                                 3
         Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 9 of 25




me the information to review….” (Id.). On June 29, 2019, Jellesma responded to Plaintiff’s

message stating, in relevant part, “I am not saying that your help is not needed, I am saying that

knowing the changes you want to make to Andrew’s campaign, you will quickly become frustrated

with the limitations of the mod position.” (Id., at ¶ 29).

       On July 3 and 6, 2019, YGRO Andrea Duncan (“Duncan”) contacted Plaintiff to schedule

an interview with her for a YGRO position. (Id., at ¶ 30). On July 9, 2019, Defendants officially

hired Plaintiff as YGRO and explicitly represented that Plaintiff would be compensated for her

role as YGRO. (Id., at ¶ 31). On July 11, 2019, Looney posted a recruitment announcement in the

Yang 2020 Slack Channel seeking applications for the YGRO position. (Id., at ¶ 32). On July 12,

2019, after Plaintiff echoed concerns regarding problematic language in connection with

immigration on the Yang 2020 Campaign website, Esther Baldwin (“Baldwin”), who was the

Volunteer Administrator for the “Women for Yang” Facebook Group, falsely accused Plaintiff of

“sharing propaganda.” (Id., at ¶ 33). On July 13, 2019, Plaintiff contacted Anaami P., who was the

Volunteer Administrator of the Women for Yang Facebook group, to discuss the incident that

occurred with Baldwin on July 12, 2019. (Id., at ¶ 34).

       On August 21, 2019, Plaintiff and Thrapp had a telephone conversation, during which they

discussed ways to improve Basecamp moderation against sexism and misogyny and about joining

the @YangGangHub. (Id., at ¶ 36). During said call, Plaintiff engaged in protected activity by

opposing Defendants’ gender-based discriminatory practices and lodging complaints about

Defendants’ conduct. (Id.) On August 22, 2019, Thrapp retaliated against Plaintiff by falsely

accusing her of “publicly raising an outcry” in the Women for Yang Facebook Group. (Id., at ¶

35). Upon information and belief, Thrapp observed the online confrontation between Baldwin and

Heidi Day, who expressed criticism on Twitter regarding the sexism and misogyny within




                                                  4
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 10 of 25




Defendants’ Basecamp, and falsely assumed that Plaintiff was responsible for the situation due to

her previous opposition of Defendants’ gender-based discrimination. (Id.). On the same date,

Plaintiff applied for an Executive Assistant position for which she was qualified that was

advertised on Defendants’ website. (Id., at ¶ 38). However, Defendants failed to interview and

hire Plaintiff for the Executive Assistant position despite her qualifications due to its retaliatory

animus against her. (Id.).

       On August 24, 2019, Thrapp sent a message to Plaintiff stating, in relevant part, “Your

issue [gender discrimination complaints] is being looked at by the campaign and I personally don’t

care about it anymore.” (Id., at ¶ 39). Plaintiff then stated to Looney, “This *situation* has been a

source of stress and anxiety for the past three days...” to which Looney responded, in relevant part,

“I’m confused as to what the issue is... (Id.). On August 27, 2019, Plaintiff responded to Looney

stating, “…one time back in June, I pointed out the sexism and lack of women in the Basecamp

group and since then, anytime…I say [something] on the topic, they take the info back into the

group and talk about me for hours.” (Id., at ¶ 40).

       Between August 27, 2019, and September 25, 2019, Plaintiff did not receive any further

communications from Looney. (Id., at ¶ 41). On September 25, 2019, Plaintiff contacted Looney

requesting that he escalate her harassment complaints to Defendants’ Human Resources

Department and subsequently contacted Defendant FOAY Senior Political Advisor Steve

Marchand (“Marchand”) stating, “I’ve been reporting retaliation in the form of harassment for

reporting sexism and misogyny in the Basecamp group and not getting anywhere…[i]s there

someone I can talk to…I’ve been discussing this with Shaun for months.” (Id., at ¶ 42).

Significantly, Marchand never responded to Plaintiff. (Id.). On September 25, 2019, Looney

emailed Plaintiff and FOAY employee Christine Nbemeneh (“Nbemeneh”) acknowledging the




                                                 5
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 11 of 25




“amazing work” Plaintiff “has been doing for a while now.” (Id., at ¶ 43). Shortly thereafter,

Thrapp stated to others in a Discord Group, “She’s [Plaintiff] going to go into histrionics when she

sees what happens next…[s]he’s out…” (Id.).

       On September 26, 2019, Plaintiff emailed Nbemeneh a screenshot of Thrapp’s message, as

well as a copy of his message to the @YangGangHub Twitter group chat stating, “Erica is being

handled by the campaign.” (Id., at ¶ 44). In response, Nbemeneh apologized for Plaintiff’s

experience and offered to speak with her the following day; however, Nbemeneh never contacted

Plaintiff. (Id.). Later that day, Thrapp disclosed to prominent members of the Yang Gang that “the

campaign is fully involved in this and they have been for months,” referring to Plaintiff. (Id.).

Thereafter, Plaintiff sent a fourth message to Marchand requesting help and stating that she was

being harassed by Defendants’ employees in connection with Basecamp; however, Marchand

failed to respond to Plaintiff. (Id.). On September 27, 2019, Defendant FOAY member Sean

Copello acknowledged the harassment to which Plaintiff was subjected by Defendants by posting

a Tweet via his Twitter account stating, “Why is @HumanistHulk [Thrapp] harassing OG

#YangGang @AmericaLee [Plaintiff]?” (Id., at ¶ 45).

       On September 28, 2019, Defendants retaliated against Plaintiff by deactivating her Slack

account and publicly disclosing on Twitter that Plaintiff “has been removed as Washington’s Yang

Gang Regional Organizer.” (Id.). Thereafter, conversations in the Defendant FOAY Discord and

Twitter contained a “blacklist” with Plaintiff’s name on it. (Id.). Plaintiff then called Defendant

FOAY employee Katie Dolan (“Dolan”) regarding Defendants’ public termination of her

employment, the ongoing harassment, her multiple complaints regarding the same, and requested

that she be reinstated as YGRO. (Id.). Plaintiff then sent a text message to Reilly regarding the

same; however, Reilly failed to respond. (Id.). On September 29, 2019, Defendants further




                                                 6
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 12 of 25




retaliated against Plaintiff when Co-Founder of the Yang Gang Report David Barnes (“Barnes”)

doxed Plaintiff by publishing a private conversation between them, which included Plaintiff’s

telephone number, email, and daily work routine, on multiple social media platforms titling the

posts “Erica Lindsay yikes.” (Id., at ¶ 47). Subsequently, Defendant FOAY employees and

volunteers signed a letter detailing the harassment, discrimination and retaliation to which

Defendants subjected Plaintiff. (Id.).

       A few days later, Defendant FOAY employee Rebecca Nagy (“Nagy”) further retaliated

against Plaintiff by revealing confidential information Plaintiff provided to Defendants’ Human

Resources Department. (Id., at ¶ 48). Specifically, in a Facebook message exchange with New

Jersey YGRO Leah Piotroski (“Piotroski”), Nagy wrote, “[T]here is ABSOLUTELY misogyny in

the Yang Gang…the big frustration with Erica was that essentially when she brought it to us, her

solution was that we fuck off and she take over everything… I know they were planning this for

awhile, because…I got a message from Fred where he wanted to ‘offer advice’ on how to ‘Deal’

with Erica…and his advice was…and I have screenshots of this, ‘Call her a cunt.’” (Id.).

       On October 1, 2019, Plaintiff informed Defendant Yang about the relentless discrimination

and retaliation to which she was subjected during her employment with Defendants. (Id., at ¶ 49).

(Id.). In response, Defendant Yang told Plaintiff that he would have someone contact her and that

she “has his phone number now for use;” however, Defendant Yang never answered or returned

Plaintiff’s calls. (Id.). On October 2, 2019, Ramey and Actress Alyssa Milano (“Milano”)

delivered Defendant Yang a copy of the above-mentioned letter. (Id., at ¶ 50). In response,

Defendant Yang falsely represented to Milano that the situation was “resolved.” (Id.). On October

4, 2019, Plaintiff messaged Defendant Yang to which he responded, “Thanks Erica—someone will

reach out later today…[a]ppreciate your patience, resilience and understanding.” (Id., at ¶ 51).




                                               7
         Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 13 of 25




Subsequently, Plaintiff spoke with Defendant FOAY employee Matt Shinners (“Shinners”)

regarding her discrimination and retaliation complaints to which Shinners stated, “I will be taking

this very seriously” and asked Plaintiff to provide evidence, which she subsequently provided.

(Id.).

         On October 5, 2019, Defendants further retaliated against Plaintiff when Barnes again

publicly posted the direct message conversation between him and Plaintiff, which contained

Plaintiff’s personal information, and accused Plaintiff of being a “known political operative that

worked for Hillary Clinton” on multiple social media platforms. (Id., at ¶ 51). Significantly, despite

Plaintiff’s complaints regarding the severe harassment, discrimination, retaliation, and defamation

to which she was subjected to by Barnes, Defendants officially hired him. (Id., at ¶ 53). On

October 6, 2019, Plaintiff emailed Shinners an 80-page report detailing the harassment,

discrimination, and retaliation to which Defendants subjected her. (Id., at ¶ 54).           Plaintiff

subsequently learned from other employees that Shinners purposefully ignored Plaintiff’s

complaints and that Defendants instructed all employees “not to engage with [Plaintiff]” regarding

complaints.”

         On October 18, 2019, Plaintiff spoke with Defendant FOAY Director of Distributed

Organizing Drew Corbitt (“Corbitt”) regarding the ongoing discrimination, harassment, and

retaliation she was experiencing and provided him with evidence. (Id., at ¶ 55). On October 21,

2019, Plaintiff sent a text message to Corbitt evidencing the harassment to which she was subjected

by Defendants. (Id., at ¶ 57). On December 14, 2019, @TheRealBCereus, who is a prominent

supporter of Defendant Yang, published a smear video, which included Plaintiff’s allegations of

harassment, discrimination, and retaliation against Defendants. (Id., at ¶ 58). Following the

unlawful termination of Plaintiff’s employment, Defendants hired a significant number of male




                                                  8
          Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 14 of 25




volunteers for permanent roles within Defendant FOAY while failing to hire Plaintiff and/or

denying her a permanent position with Defendants. (Id., at ¶ 59).

                                       LEGAL ARGUMENT

    I.       STANDARD OF REVIEW
          When deciding a motion to dismiss pursuant to Rule 12(b)(6), the court must accept all

factual allegations as true and draw all inferences in favor of the plaintiff. Apotex Inc. v. Acorda

Therapeutics, Inc., 823 F.3d 51, 59 (2d Cir. 2016) (citing Littlejohn v. City of New York, 795 F.3d

297, 306 (2d Cir. 2015)). To survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the

plaintiff must allege sufficient facts, accepted as true, to “state a claim to relief that is plausible on

its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). A claim is facially plausible “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556). In addition to alleging facts that are consistent

with liability, the complaint must “nudge[] claims across the line from conceivable to plausible.”

Daniels v. City of New York, No. 17 CIV. 9960 (LGS), 2019 WL 251511, at *2 (S.D.N.Y. Jan. 17,

2019) (Shofield, J.) (quoting Twombly, 550 U.S. at 570).

    II.      PLAINTIFF HAS STANDING TO ASSERT HER DISCRIMINATION AND
             RETALIATION CAUSES OF ACTION GIVEN THAT SHE WAS
             CONSIDERED AN EMPLOYEE OF DEFENDANTS UNDER THE
             APPLICABLE STATUTES
          To bring a claim of discrimination and retaliation under Title VII, NYSHRL, and

NYCHRL, the plaintiff must establish that an employee/employer relationship existed between

Plaintiff and defendants. Gulino v. New York State Educ. Dep’t, 460 F.3d 361, 370 (2d Cir.

2006); Mahmud v. Kaufman, 496 F. supp. 2d 266, 274-75 (S.D.N.Y. 2007); Musiello v. CBS

Corp., 518 F. Supp. 3d 782, 789 (S.D.N.Y. 2021). The employment relationship that is required



                                                    9
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 15 of 25




to sustain NYSHRL and NYCHRL claims is analogous to the requirements to sustain a Title

VII claim. Brown v. Daikin Am. Inc., 757 F.3d 219, 226 (2d Cir. 2014).

            A. Plaintiff Has Standing to Assert Title VII Claims Given That She Was
               Employed by Defendants

      Title VII defines “employee” as "an individual employed by an employer.” Areu v. Fox

News Network, LLC, 2021 WL 4124226, at *8-10 (S.D.N.Y. Sept. 9, 2021) (citing O'Connor

v. Davis, 126 F.3d 112, 115 (2d Cir. 1997)). See also 42 U.S.C. § 2000e(f). The Second Circuit

has established a two-part test to determine an individual’s employment status in situations

where a clear employer-employee relationship cannot be ascertained. Areu, 2021 WL 4124226,

at *8-10. First, a plaintiff must show that she was hired by the employer by establishing that

“she received remuneration in some form for her work.” Id. (citing United States v. City of

N.Y., 359 F.3d 83, 91-92 (2d Cir. 2004)). The remuneration required need not be a salary;

however, it must convey a “substantial benefit” to the employee. Id.

      Second, a court must determine whether the hired person is an employee based upon the

following factors:

       (1) the hiring party's right to control the manner and means by which the product is
       accomplished; (2) the skill required; (3) the source of the instrumentalities and
       tools; (4) the location of the work; (5) the duration of the relationship between the
       parties; (6) whether the hiring party has the right to assign additional projects to the
       hired party; (7) the extent of the hired party's discretion over when and how long to
       work; (8) the method of payment; (9) the hired party's role in hiring and paying
       assistants; (10) whether the work is part of the regular business of the hiring party;
       (11) whether the hiring party is in business; (12) the provision of employee benefits;
       and (13) the tax treatment of the hired party.

Hughes v. Twenty-First Century Fox, Inc., 304 F. Supp. 3d 429, 442 (S.D.N.Y. 2018) (citing

Cmty. for Creative Non-Violence v. Reid, 490 U.S. 730, 751-52 (1989). In the employment

discrimination context, “courts place the greatest emphasis on the extent to which the hiring

party controls the manner and means by which the worker completes his or her assigned tasks.”


                                                 10
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 16 of 25




Hughes, 304 F. Supp. 3d at 443 (citing City of N.Y., 359 F.3d at 91-92).

      As a preliminary matter, in their Memorandum of Law in Support, Defendants

repeatedly point out contradictions between Plaintiff’s initial Complaint and the Amended

Complaint. As this Court is aware, Plaintiff filed her initial Complaint as a pro se Plaintiff.

When deciding a motion to dismiss for failure to state a claim, a court must construe a pro se

complaint liberally. Harris v. Mills, 572 F.3d 66 (2d Cir. 2009) (citing Fed. R. Civ. P. 12(b)(6)).

Therefore, Defendants’ arguments concerning the differences between Plaintiff’s original

complaint and the Amended Complaint are not dispositive.

       Defendants further argue, “Plaintiff’s reliance on Areu in her letter opposing leave to

file this Motion is misplaced” and that “Areu supports a conclusion here that Plaintiff did not

have an employer relationship with Defendants.” To the contrary, the instant matter can be

distinguished from Areu given that in both the original Complaint and Amended Complaint,

Plaintiff explicitly alleged that Defendants represented at the time of her hire that she would

be compensated for her role as YGRO. (Dkt. Nos. 11, at pp. 5, 10; 52, at ¶ 31). See Areu, 2021

WL 4124226, at *9 (explaining that the plaintiff failed to plead facts about her renumeration

in the complaint and therefore, failed to plausibly allege that she was ever an employee of

defendant). As such, the remuneration Defendants promised Plaintiff was a paid salary and

therefore, Plaintiff satisfies the first part of the test. See Areu, 2021 WL 4124226, at *8-10.

       With respect to the second part of the test, while Plaintiff can satisfy most of the 13

factors, for purposes of brevity, Plaintiff can establish that Defendants “control[led] the manner

and means by which [Plaintiff] complete[ed] her assigned tasks,” which is the most important

factor. See Hughes, 304 F. Supp. 3d at 443. Specifically, in the Amended Complaint, Plaintiff

alleged that Defendants controlled what Plaintiff posted on social media and required her to




                                                  11
          Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 17 of 25




meet specific goals, login to a specific platform, contact volunteers regarding applications,

consolidate “Yang Gangs” within her state, and track volunteers retained. (See generally, Am.

Cpt.). Defendants also provided Plaintiff with a specific FOAY email account to use when

communicating as YGRO. (Id.) Throughout her employment, Looney regularly checked in

with Plaintiff via various communication platforms regarding tasks for which she was

responsible and required Plaintiff to attend weekly YGRO meetings during which they would

discuss Plaintiff’s assignments. (Id.).

          As such, Plaintiff can establish that she was an employee of Defendants and therefore,

has standing to assert claims under Title VII.

               B. Plaintiff Has Standing to Assert NYSHRL and NYCHRL Claims Given That
                  She Was Employed by Defendants

          The standards for recovery under NYSHRL and NYCHRL are the same as the federal

standards under Title VII. Areu, 2021 WL 4124226, at *10. Accordingly, for the reasons

outlined above, Plaintiff was an employee of Defendants under NYSHRL and NYCHRL.

   III.      PLAINTIFF PLED PLAUSIBLE CLAIMS AGAINST DEFENDANT YANG
             UNDER NYSHRL AND NYCHRL
               A. Title VII Claims against Defendant Yang

          Plaintiff consents to the dismissal of her Title VII claim against Defendant Yang.

               B. Defendant Yang is Individually Liable under NYSHRL and NYCHRL

          Under NYSHRL, “[l]iability for an employee’s discriminatory conduct may only be

imputed to an employer under the NYSHRL if the employer ‘became a party to it by encouraging,

condoning, or approving it.” Gorman v. Covidien, LLC, 146 F. Supp. 3d 509, 521 (S.D.N.Y. 2015)

(citing Brown v. City of New York, 2013 WL 3789091, at *18 (S.D.N.Y. July 19, 2013)) see also

Doe v. State of New York, 89 A.D.3d 787, 933 (“Under [Section 296], [a]n employer cannot be

held liable for an employee’s discriminatory act unless the employer became a party to it by


                                                  12
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 18 of 25




encouraging, condoning, or approving it…[i]t is only after an employer knows or should have

known of improper discriminatory conduct that it can undertake or fail to undertake action which

may be construed as condoning the improper conduct.”) (internal quotations omitted).

       Under NYSHRL, it is unlawful “for any person to aid, abet, incite, compel or coerce the

doing of any of the acts forbidden under this article, or attempt to do so.” Feingold v. New York,

366 F.3d 138, 157-58 (2d Cir. 2004) (citing N.Y. Exec. Law § 296(6)). Therefore, NYSHRL

allows for individual liability if the individual defendant “aided and abetted the unlawful

discriminatory acts of others.” Gorman, 146 F. Supp. 3d at 521-22. Furthermore, “[a]n individual

may be considered an employer if he or she has an ownership interest in the relevant organization

or the power to do more than carry out personnel decisions made by others.” Id. (citing Townsend

v. Benjamin Enterprises, Inc., 679 F.3d 41, 57 (2d Cir. 2012)).

       The NYCHRL “expressly creates direct liability for employment discrimination against an

employee or agent of the employer in question.” Gorman, 146 F. Supp. 3d at 529 (citing N.Y.C.

Admin. Code § 8-107(1)(a). Under NYCHRL, an employee’s conduct may be imputed to an

employer in three circumstances where: (1) the offending employee was a manager or supervisor;

(2) the employer had knowledge of the offending employee’s discriminatory conduct and

“acquiesced in it or failed to take immediate and appropriate corrective action;” and (3) the

employer “should have known of the offending employee’s discriminatory conduct yet failed to

exercise reasonable diligence to prevent it.” Gorman, 146 F. Supp. 3d at 529 (citing Zakrzewska

v. New School, 14 N.Y.3d 469, 479 (2010)); N.Y.C. Admin. Code § 8-107(13). “The same

standards of analysis used to evaluate aiding and abetting claims under the NYSHRL apply to such

claims under the NYCHRL because the language of the two laws is virtually identical.” Feingold,

366 F.3d at 158 (holding that the plaintiff proffered enough evidence to permit the conclusions




                                               13
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 19 of 25




that two of the individual defendants took no action to remedy the hostile work environment to

which Plaintiff was subjected and therefore, presented sufficient evidence to create a triable

question as to whether they participated in the conduct giving rise to plaintiff’s discrimination

claims) (internal citations omitted).

       Under both NYSHRL and NYCHRL, employees may be held personally liable “if they

participate in the conduct giving rise to the discrimination claim.” Id. (citing Sowemimo v.

D.A.O.R. Sec., Inc., 43 F. Supp. 2d 477, 490 (S.D.N.Y. 1999).

       In the instant case, Plaintiff alleged that Defendant Yang is the “head of Defendant FOAY.”

(Am. Comp., at ¶ 13). Plaintiff further alleged that “Defendant Yang was personally involved in

the adverse action taken against Plaintiff and that Defendant Yang acted in his official capacity

when discriminating against Plaintiff. (Id. at ¶ 68). Clearly, Defendant Yang had an ownership

interest in the “Friends of Andrew Yang” given that it was a campaign specifically created for him

at the time he was a presidential candidate. (Id.). Therefore, Defendant Yang is considered an

employer under NYSHRL given that he held an ownership interest in Defendant FOAY. See

Gorman, 146 F. Supp. 3d at 521-22.

       Furthermore, the discriminatory conduct of Defendants’ employees may be imputed to

Defendant Yang under NYSHRL given that he became a party to the discriminatory conduct by

condoning such conduct. See Gorman, 146 F. Supp. 3d 509 at 521 (citing Brown, 2013 WL

3789091, at *18). Specifically, Defendant Yang became aware of the discrimination and retaliatory

to which Plaintiff was subjected when she made multiple complaints to him about the ongoing

situation. (Am. Comp., at ¶¶ 47, 49-51). After learning about the situation, Defendant Yang failed

to ameliorate the ongoing discrimination and retaliation against Plaintiff when he failed to return

her calls and/or discipline the offending employees. (Id.). As such, Defendant Yang condoned the




                                                14
            Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 20 of 25




improper conduct despite Plaintiff’s repeated pleas for help and is liable as an employer under

NYSHRL. (Id.). See Gorman, 146 F. Supp. 3d 509 at 521 (citing Brown, 2013 WL 3789091, at

*18. See also Doe, 89 A.D.3d 787 at 933.

            For the same reasons, Defendant Yang is directly liable under NYCHRL for the

discrimination to which Plaintiff was subjected during her employment with Defendants.

            As such, this Court should deny Defendants’ Motion to Dismiss the Amended Complaint

given that Defendant Yang is individually liable under NYSHRL and NYCHRL.

      IV.      PLAINTIFF   PLED                PLAUSIBLE           CLAIMS          OF       SEX-BASED
               DISCRIMINATION
            For a sex discrimination claim to survive a motion to dismiss, “a plaintiff need only

establish a prima facie case…by demonstrating that (1) [she] was within the protected class; (2)

[she] was qualified for the position; (3) [she] was subject to an adverse employment action; and

(4) the adverse action occurred under circumstances giving rise to an inference of discrimination."

Menaker v. Hofstra Univ., 935 F.3d 20, 30 (2d Cir. 2019). At the 12(b)(6) stage, “[a] plaintiff need

only allege facts that give plausible support to a minimal inference of discriminatory motivation.”

Id.

            In the instant case, there is no dispute that Plaintiff’s Amended Complaint satisfies the first

three prima facie case elements. See id. Plaintiff also alleged facts that “give plausible support to

a minimal inference of discriminatory motivation.” See id. Specifically, Plaintiff plausibly alleged

that she is a female, Defendants routinely exhibited a discriminatory animus against women,

Plaintiff opposed Defendants’ discriminatory comments about women on multiple occasions,

Defendants denied her a role Basecamp Moderator role after she opposed the discriminatory

comments about women, denied to interview/hire her for an Executive Assistant position,

terminated her employment, and hired a significant number of male volunteers for permanent roles



                                                      15
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 21 of 25




while denying Plaintiff the same opportunities due to their discriminatory and retaliatory animus

against her. (See generally, Am. Cpt.).

        Plaintiff further alleged that Nagy messaged another employee stating, “There is absolutely

misogyny in the Yang Gang” and that Ramey referred to Plaintiff as a “cunt.” (Id., at ¶ 48).

Similarly, Plaintiff alleged that Ramey was the subject of multiple complaints due to his use of the

words “bitch” and “cunt.” (Id., at ¶ 23). Lastly, Plaintiff plausibly alleged that Defendants intended

to discriminate against Plaintiff on the basis of her gender. (Id., at ¶ 68, 80, 94). Contrary to

Defendants contention, Plaintiff clearly alleged that she herself was discriminated against a result

of her sex when she was denied the Base Moderator role, called a “cunt” by a male employee, and

was denied employment opportunities that Defendants afforded to male individuals. (See

generally, Am. Cpt.).

        Accordingly, Plaintiff alleged plausible claims of sex discrimination under the applicable

statutes and therefore, this Court must deny Defendants’ Motion to Dismiss the Amended

Complaint.

   V.        PLAINTIFF PLED PLAUSIBLE CLAIMS OF RETALIATION
        Under Title VII and NYSHRL, “[f]or a retaliation claim to survive a motion for summary

judgment on the pleadings or a motion to dismiss, the plaintiff must plausibly allege that: (1)

defendants discriminated—or took adverse employment—against him, (2) because he has opposed

any unlawful employment practice.” Duplan v. City of New York, 888 F.3d 612, 625 (2d Cir. 2018)

(citing Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 90 (2d Cir. 2015)). In a retaliation

case, an adverse employment action “includes conduct that is harmful to the point that it could

well dissuade a reasonable worker from making or supporting a charge of discrimination.” Duplan,

888 F.3d at 626-27 (holding that the plaintiff’s allegations that he suffered an adverse employment




                                                 16
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 22 of 25




action in retaliation for his previous EEOC complaint were sufficient to avoid dismissal) (citing

Shultz v. Congregation Shearith Israel, 867 F.3d 298, 309 (2d Cir. 2017)).

       To establish a retaliation claim under Title VII and NYSHRL, the plaintiff must plead that

she suffered a materially adverse change in the terms and conditions of employment. de Souza v.

Planned Parenthood Fed’n of Am., Inc., No. 21 CIV. 5553 (LGS), 2022 WL 2047580, at *1

(S.D.N.Y. June 7, 2022). Under NYCHRL, which provides a more lenient standard, a plaintiff is

not required to allege a material change in the terms and conditions of employment but only that

the retaliatory act is “likely to deter a person from engaging in protected activity.” Id. (citing

N.Y.C. Admin. Code § 8-107(7)).

       In the instant case, Plaintiff plausibly alleged that she engaged in protected activity by

complaining to Defendants about and/or opposing gender discrimination on multiple occasions.

Duplan, 888 F.3d at 625 (citing Vega, 801 F.3d at 90); (Am. Comp., at ¶¶ 22, 23, 28, 33, 34, 36,

39, 40, 42, 44, 49-51, 54, 55, 57, 60). Plaintiff further plausibly alleged that she suffered adverse

employment action that constituted a material adverse change in the terms and conditions of her

employment when Defendants denied her the opportunity to become a Basecamp Moderator,

falsely accusing Plaintiff of “publicly raising an outcry,” denied her the opportunity to interview

her and failed to hire her for an Executive Assistant position despite her qualifications, failed to

ameliorate the harassment and retaliation to which she was subjected, deactivating her slack

account, terminating her employment, and publicly announcing her termination and doxing her on

social media. See id.; (Am. Comp., at ¶¶ 27, 29, 37, 38, 41, 46, 47, 48, 52, 58, 59).

       Clearly, Defendants’ actions, namely their failure to hire Plaintiff despite her qualifications

and termination of her employment, against Plaintiff following her engagements in protected




                                                 17
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 23 of 25




activity were materially adverse changes in the terms and conditions of her employment. See de

Souza, 2022 WL 2047580, at *1.

        Furthermore, a reasonable person would likely be dissuaded from making or supporting a

charge of discrimination if she knew that it would result in the denial and/or termination of her

employment. See Duplan, 888 F.3d at 626-27. Defendants illogically argue that Defendants actions

were “likely not material” since said actions did not deter Plaintiff from subsequent complaints

making complaints. However, Defendants argument is not dispositive as Plaintiff did not expect

that Defendants would unlawfully terminate her employment for exercising her rights to complain

about unlawful discrimination.

        In light of the foregoing, Plaintiff plausibly alleged that she suffered material adverse

employment actions under Title VII, NYSHRL, and NYCHRL and therefore, this Court must deny

Defendants’ Motion to Dismiss the Amended Complaint.

             A. Plaintiff Pled a Plausible Retaliatory Failure to Hire Claim
        To sustain a failure to hire claim, a plaintiff must allege that she applied for an available

position for which she was qualified and was rejected under circumstances giving rise to an

inference of unlawful discrimination. Wang v. Phoenix Satellite Television US, Inc., 976 F. Supp.

2d 527, 537 (S.D.N.Y. 2013) (citing Tex. Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248, 253

(1981)). “For a failure to hire claim to withstand a motion to dismiss, a plaintiff must allege specific

positions to which she applied and was rejected.” Id. (citing Brown v. Coach Stores, Inc., 163 F.3d

706, 710 (2d Cir. 1998)).

        In the instant case, Plaintiff plausibly alleged that she applied for an Executive Assistant

position advertised on Defendants’ website and that she was qualified for the position; however,

Defendants further retaliated against her by failing to interview and hire her for said role despite

her qualifications. (Am. Comp., at ¶ 38). To further support her qualifications, Plaintiff plausibly


                                                  18
        Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 24 of 25




alleged that on September 25, 2019, Looney emailed her and Nbemeneh acknowledged the

“amazing work” Plaintiff “has been doing for a while now.” (Id., at ¶ 43). Plaintiff’s Amended

Complaint also sets forth various allegations regarding her complaints leading up to the failure to

hire incident, which establishes that Defendants failed to interview/hire her for the position under

circumstances giving rise to an inference of discrimination. See Wang, 976 F. Supp. 2d at 537

(citing Burdine, 450 U.S. at 253); (See generally, Am. Cpt.).

        Lastly, Plaintiff plausibly alleged that following the termination of her employment,

Defendants hired a significant number of male volunteers for permanent roles while denying

Plaintiff the same due to their discriminatory and retaliatory animus against her. (Am. Cpt., at ¶

59). As such, Plaintiff sufficiently pled a claim for retaliatory failure to hire.

             B. Plaintiff Suffered Adverse Employment Action When Defendants Publicly
                Criticized and Doxed Her on Social Media
        Defendants improperly argue that Plaintiff’s claim that Defendants retaliated against her

by subjecting her to public criticism and doxing does not rise to the level of a materially adverse

action under Title VII and NYSHRL. However, Defendants’ argument is misguided. This Court

has found that negative employment references and foreclosing future employment opportunities

qualify as adverse actions. See Hughes v. Twenty-First Century Fox, Inc., 304 F. Supp. 3d 429,

448 (S.D.N.Y. 2018) (citing Noni v. Cty of Chautauqua, 511 F. Supp. 2d 255, 264 (W.D.N.Y.

2007); Veprinsky v. Fluor Daniel, Inc., 87 F.3d 881, 890 (7th Cir. 1996)).

        In the instant case, Defendants were aware that its employees publicly disclosed

information concerning Plaintiff’s employment discrimination and retaliation complaints, as well

as the termination of her employment. (Am. Cpt., at ¶ 44- 47, 54). Nevertheless, Defendants failed

to ameliorate the situation and allowed the public disclosure and criticism of Plaintiff to continue

due to its retaliatory animus against her. (Id.). The social media posts amount to a negative



                                                   19
          Case 1:21-cv-07934-LGS Document 65 Filed 08/15/22 Page 25 of 25




reference concerning Plaintiff’s employment with Defendants, can be viewed by future employers,

and are likely to foreclose future employment opportunities for Plaintiff.

         As such, Defendant subjected Plaintiff to adverse employment actions in retaliation for her

previous engagements in protected activity.

   VI.      PLAINTIFF’S DEFAMATION CLAIM
         Plaintiff consents to the dismissal of defamation claim against Defendants.

   VII.     LEAVE TO REPLEAD
         As Defendants concede, leave to replead is to be given liberally except where amendment

would be futile. Nechis v. Oxford Health Plans, Inc., 421 F.3d 96, 104 (2d Cir. 2005). Defendants

argue that Plaintiff should not be given further leave to replead because Plaintiff’s claims fail as a

matter of law. As outlined herein, Plaintiff’s alleged plausible claims of gender discrimination and

retaliation under the applicable statutes. However, should this Court grant Defendants’ Motion to

Dismiss in its entirety, Plaintiff respectfully requests that this Court afford her the opportunity to

amend the pleadings as such amendment would not be futile.

                                          CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests this Court deny Defendants’

Motion to Dismiss Plaintiff’s Amended Complaint in its entirety.


Dated: New York, New York
       August 15, 2022

                                                      Respectfully submitted,

                                               By:    /s/Samantha E. Hudler
                                                      Samantha E. Hudler
                                                      Attorneys for Plaintiff
                                                      757 Third Avenue, 20th Floor
                                                      New York, New York 10017
                                                      (917) 565-8763



                                                 20
